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 1                                                         The Honorable Michelle L. Peterson
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 7                       UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
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10
11    UNITED STATES OF AMERICA,                          No. MJ20-324
12                           Plaintiff,                  COMPLAINT for VIOLATION
13                      v.
                                                         26 U.S.C. § 5861(d)
14    DEVINARE ANTWAN PARKER,                            26 U.S.C. § 5845(a)(8), (f)(2)
15                          Defendant.
16
17           BEFORE the Honorable Michelle L. Peterson, United States Magistrate Judge,
18 U.S. District Courthouse, Seattle, Washington.
19           The undersigned complainant being duly sworn states:
20                                           COUNT 1
21                             (Unlawful Possession of a Destructive Device)
22           On or about May 31, 2020, at Seattle, within the Western District of Washington,
23 DEVINARE ANTWAN PARKER did knowingly receive and possess a firearm, that is, a
24 destructive device or any other weapon, which was not registered to him in the National
25 Firearms Registration and Transfer Record.
26           All in violation of Title 26, United States Code, Sections 5861(d) and 5845(a)(8),
27 (f)(2).
28
     Parker Complaint - 1                                                   UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
     USAO No. 2020R00547
                                                                             SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
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 1         The undersigned complainant, Keeli Nelson, Special Agent, being first duly sworn
 2 on oath, hereby deposes and says:
 3                              TRAINING AND EXPERIENCE
 4         1.      I am a Special Agent (SA) with the United States Department of Justice
 5 (DOJ), Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF), and have been so
 6 employed since October 15, 2018. I am an “investigative or law enforcement officer of
 7 the United States” within the meaning of Title 18, United States Code, Section 2510(7),
 8 that is, an officer of the United States who is empowered by law to conduct investigations
 9 of, and to make arrests for, offenses enumerated in Title 18, United States Code, Section
10 2516. I am currently assigned to the Seattle Group V Field Office.
11         2.      I am a graduate of the Federal Law Enforcement Training Center, Criminal
12 Investigator Training Program, and the ATF National Academy, both in Glynco, Georgia.
13 During this 28-week training, I received instruction relating to the investigation of
14 firearm and explosives violations. Prior to this employment, I obtained a bachelor’s
15 degree in Biology with a minor in Chemistry from Carroll College in Helena, Montana,
16 and a master’s degree in Forensic Psychology from Walden University in Minneapolis,
17 Minnesota. During my career with ATF, I have had training and experience investigating
18 violent crimes against persons and crimes against the government. I have been involved
19 in investigations involving the unlawful purchase and/or unlawful possession of firearms
20 and explosives. I have also participated in and executed search and seizure warrants with
21 respect to the illegal possession of firearms and explosives.
22         3.      The facts set forth in this Complaint are based on my own personal
23 knowledge; knowledge obtained from other individuals who participated in this
24 investigation, including other law enforcement officers; my review of documents and
25 records related to this investigation; and information gained through my training and
26 experience. I have not included all facts known to me obtained in this investigation, but
27 only those facts necessary to set forth probable cause in support of the offenses alleged in
28 Count 1 above.
     Parker Complaint - 2                                                  UNITED STATES ATTORNEY
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     USAO No. 2020R00547
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 1                                PURPOSE OF AFFIDAVIT
 2         4.      This Affidavit is made in support of a Complaint against DEVINARE
 3 ANTWAN PARKER for one count of Unlawful Possession of a Destructive Device, in
 4 violation of Title 26, United States Code, Sections 5861(d) and 5845(a)(8), (f)(2).
 5                                  RELEVANT STATUTES
 6         5.      Title 26, United States Code, Section 5861(d) makes it unlawful for any
 7 person “to receive or possess a firearm which is not registered to him in the National
 8 Firearms Registration and Transfer Record.”
 9         6.      As relevant here, Title 26, United States Code, Section 5845 defines
10 “firearm” for the purposes of the Title. Section 5845(a)(8) provides that a “firearm”
11 means “a destructive device.” Title 26, United States Code, Section 5845(f)(2) defines a
12 “destructive device,” as “any type of weapon by whatever name known which will, or
13 which may be readily converted to, expel a projectile by the action of an explosive or
14 other propellant, the barrel or barrels of which have a bore of more than one-half inch in
15 diameter, except a shotgun or shotgun shell which the Secretary finds is generally
16 recognized as particularly suitable for sporting purposes.”
17                          INVESTIGATION AND PROBABLE CAUSE
18         7.      During the late evening hours of May 31, 2020, in Seattle, Washington, a
19 large-scale public disturbance had erupted after a day of peaceful protests. This
20 disturbance involved a number of businesses in the downtown core being vandalized and
21 looted, and patrols cars set on fire. Because of the disturbance, the Seattle mayor had
22 declared a state of emergency and set a 5:00 p.m. curfew.
23         8.      At about 11:30 p.m., Seattle Police Department (SPD) Officer Molly
24 Accomando was driving a patrol car north on Third Avenue in Seattle, Washington, with
25 Sergeant Doug Raguso in the front passenger seat. They were part of a large police
26 presence in downtown Seattle as a result of this disturbance. Sergeant Raguso’s window
27 was rolled down.
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 1         9.      As the two drove north through the 1400 block of Third Avenue, they
 2 passed DEVINARE ANTWAN PARKER, who was walking in the middle of the street
 3 along with other people. As they passed, DEVINARE ANTWAN PARKER approached
 4 the car and threw a 16 ounce can of Bud Ice beer at Sergeant Raguso. The beer hit
 5 Sergeant Raguso in the face.
 6         10.     Sergeant Raguso got out of the patrol car, contacted DEVINARE
 7 ANTWAN PARKER, and placed him under arrest for the state offense of Assault in the
 8 Third Degree (assault of a police officer).
 9         11.     During the arrest, DEVINARE ANTWAN PARKER several times yelled at
10 Sergeant Raguso and Officer Accomando that he had brought the firearm to the protests
11 in order to kill police officers, and that he was going to shoot all of them.
12 In a search incident to arrest, Sergeant Raguso located an improvised firearm on
13 DEVINARE ANTWAN PARKER’s person, as well as several 12 gauge shotgun shells
14 and a folding knife. The firearm was constructed from two pieces of metal pipe. One
15 piece of pipe was about eight to ten inches long with a handle. A second piece of pipe,
16 wider than the first, had been fitted over it. This piece was capped, and a firing pin had
17 been installed in the cap. A small laser pointer/flashlight had been attached to the side of
18 the firearm. The firearm could be fired by placing a shotgun shell inside the smaller
19 diameter pipe and then slamming the larger capped pipe into it. Two photographs of the
20 firearm are below. The first depicts the firearm as recovered; the second depicts it after it
21 had been disassembled by law enforcement.
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     Parker Complaint - 5                                       UNITED STATES ATTORNEY
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 1         12.    DEVINARE ANTWAN PARKER was placed into the rear of a transport
 2 van so that he could be taken to the West Precinct and processed for booking. While en
 3 route to the precinct, the van stopped at another location to pick up additional individuals
 4 who had been arrested that evening. King County Sheriff’s Deputy Nicholas Pritchett,
 5 who was assisting the Seattle Police Department that evening, walked to the rear of the
 6 van with an arrestee. The rear doors of the van were open, and DEVINARE ANTWAN
 7 PARKER was in this area of the van, separated from Deputy Pritchett by a metal gate.
 8 DEVINARE ANTWAN PARKER approached the grate and spit through it at Deputy
 9 Pritchett, hitting him in the right eye. DEVINARE ANTWAN PARKER then said
10 something about being infected with “COVID.”
11         13.    The weapon was later test-fired by SPD Officer Kevin Jones. He used
12 primer caps or “blank” shotgun shells, and determined that the improvised firearm
13 functioned as a firearm. The firearm was not tested using live rounds as the homemade
14 nature of the weapon and the fact that the firing mechanism was detached from the
15 weapon made it unsafe to do so.
16         14.    I consulted with Ron Davis, a Firearms Enforcement Officer at ATF’s
17 Firearms Technology Criminal Branch, regarding the nature of the device recovered from
18 DEVINARE ANTWAN PARKER on May 31, 2020. I also sent him photographs of the
19 device. He told me that the device appeared consistent with items that ATF had classified
20 as subject to the provisions of the National Firearms Act, meaning that they are required
21 to be registered in the National Firearms Registration and Transfer System.
22         15.     In particular, he said that the device is consistent with an improvised
23 firearm, and appears to have a “slam fire” type ignition device. A 12-gauge shotgun shell
24 (like those recovered from DEVINARE ANTWAN PARKER) exceeds .50 caliber or
25 one-half inch, so a device of this type and size, designed to be used with a 12-gauge or
26 larger shotgun ammunition, likely meets the definition of a destructive device.
27         16.    I also consulted with Gregory Stimmel, who is the chief of the Firearms
28 Technology Criminal Branch. Based on the photographs and description I provided him,
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